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                        UNITED STATES DISTRICT COURT
                         MIDDLE DISTRICT OF FLORIDA
                               TAMPA DIVISION

  SECURITIES AND EXCHANGE
  COMMISSION,

        Plaintiff,
  v.                                              Case No. 8:20-cv-00325-MSS-NHA

  BRIAN DAVISON;
  BARRY M. RYBICKI;
  EQUIALT LLC;
  EQUIALT FUND, LLC;
  EQUIALT FUND II, LLC;
  EQUIALT FUND III, LLC;
  EA SIP, LLC;

        Defendants, and

  128 E. DAVIS BLVD, LLC, et al.,

        Relief Defendants.
  _________________________________/

                                         ORDER

         THIS CAUSE comes before the Court for consideration of the Receiver’s

  Unopposed Motion to Approve Transfer of Title to the Property Located at 920

  Maydell Drive, Tampa, Florida 33619 (the “Property”). (Dkt. 1169) At the request of

  the Securities and Exchange Commission (“SEC”), the Court appointed the Receiver

  on February 14, 2020 and directed him, in relevant part, to “[t]ake immediate

  possession of all property, assets and estates of every kind of the Corporate Defendants

  and Relief Defendants,” which includes “all real property of the Corporate Defendants



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  and Relief Defendants, wherever situated, and to administer such assets as is required

  in order to comply with the directions contained in this Order.” (Dkt. 11)

        The Court previously approved the sale of the Property as part of an auction

  conducted by the Receiver. (Dkt. 574) The Property was sold at auction to Yarin

  Sawdayee, and the Receiver requests that the Court approve the transfer of title of the

  Property to Yarin Sawdayee. (Dkt. 1169) The SEC consents to the relief sought in the

  Motion and has waived any right to appeal this Order. (Id.) The Receiver provided the

  Sale Procedures Agreement for the Court’s review. (Dkt. 1169-1)

        Accordingly, it is hereby ORDERED AND ADJUDGED that:

        1.     The Receiver’s Motion, (Dkt. 1169), is GRANTED.

        2.     Transfer of title to the Property located at 920 Maydell Drive, Tampa,

  Florida 33619, better known as Hillsborough County Property Appraiser’s Parcel Id

  Number (PIN): U-23-29-19-663-000001-52050.0 (FOLIO: 043966-0050) to Yarin

  Sawdayee is APPROVED. The Property’s legal description is as follows:

      SOUTH TAMPA SUBDIVISION W 125 FT OF N 70 FT OF S 257 FT OF
                 TRACT 13 IN SW 1/4 LESS RD R/W

         3.    Said transfer shall be free of any and all liens and encumbrances.


        DONE and ORDERED in Tampa, Florida, this 25th day of June 2024.

    Copies furnished to:
    Counsel of Record
    Any Unrepresented Person




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